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Lon A. Jenkins (4060)
Tami Gadd (12517)
MaryAnn Bride (13146)
Katherine T. Kang (14457)
OFFICE OF THE CHAPTER 13 TRUSTEE
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                    IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF UTAH


   In re:                                            Case No. 20-24404
   CHRISTOPHER PROCTOR                               Chapter 13
   Debtor.                                           Hon. Joel T. Marker

    TRUSTEE’S MOTION TO MODIFY CONFIRMED PLAN TO INCREASE RETURN
                TO NONPRIORITY UNSECURED CREDITORS


       Lon A. Jenkins, Chapter 13 Trustee, by and through counsel, hereby requests entry of order

modifying the chapter 13 plan to increase the return to unsecured creditors. In support thereof, the

Trustee asserts as follows:

   1. The Debtor filed for chapter 13 relief on July 21, 2020.

   2. The Court entered the Order Confirming Chapter 13 Plan on December 17, 2020.

   3. On or about September 29, 2022 the Trustee received an email from Utah Transit Authority

       (“UTA”) indicating that the Debtor had entered into a release of claims whereby the Debtor

       received $15,000 (letter attached).

   4. The Debtor has not disclosed the previously unknown asset on Schedule B and has not

       taken an exemption on the asset. Thus, it would appear as though the asset is property to
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       the chapter 13 bankruptcy estate and the funds should be contributed as lump sum plan

       payment.

   5. If the Trustee is successful on the Objection to Claim No. 3 filed by UTA, then the plan

       should return no less than 100% to nonpriority unsecured creditors due to the to satisfy the

       best-interest-of-creditors test of § 1325(a)(4).

   6. The case is feasible with this modification.

       WHEREFORE, the Trustee requests entry of an Order modifying the return to

nonpriority unsecured claims to 100%.

       DATED: October 6, 2022.


                                              /s/ Tami Gadd
                                              Tami Gadd
                                              Attorney for Chapter 13 Trustee




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                                CERTIFICATE OF SERVICE

By Electronic Services: I certify that the parties of record in this case as identified below, are
registered CM/ECF users and will be served notice of entry of the foregoing Motion through the
CM/ECF system on October 6, 2022

LON A. JENKINS - Chapter 13 Trustee

JUSTIN O. BURTON – Attorney for the Debtor

By U.S. Mail – In addition to the parties of record receiving notice through the CM/ECF system,
the following parties should be served notice pursuant to Fed R. Civ. P. 5(b) on October 6, 2022

CHRISTOPHER PROCTOR
PO BOX 520009
SALT LAKE CITY, UT 84152-0009
                                                     /s/ Michelle Moses
                                                     Office Chapter 13 Trustee




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Michelle Moses

From:                             Utah trusteemail
Sent:                             Thursday, October 6, 2022 9:32 AM
To:                               Michelle Moses
Subject:                          FW: 20-24404 Proctor, Chris acnt 8958/4720 ; UTA recovery file #gl-44720
Attachments:                      PDR to PGR for PD limits ; gl-44720.pdf

Importance:                       High



From: Moody, Lynnette (Recovery Adjuster) <LMoody@rideuta.com>
Sent: Thursday, September 29, 2022 11:43 AM
To: Utah trusteemail <utahtrusteemail@ch13ut.org>
Subject: Proctor, Chris acnt 8958/4720 ; UTA recovery file #gl-44720
Importance: High

Dear Law Office,

UTA recently received check #793472 for $16.86 regarding Christopher Proctor, your case #2024404.

Attached is a Property Damage Release UTA authorized on January 25th, 2021 in conjunction with Insurance Claim # 19-
1700309.
Please respond in kind with applicable bankruptcy judgement ruling(s) indicating Mr. Proctor’s debt to Utah Transit
Authority is ordered by the court &/or agreed upon by Mr. Proctor &/or his representatives.

Thank you for your assistance with this matter.
Respectfully,




Lynnette Moody
Recovery Adjuster
Risk Management
Utah Transit Authority
801.287.4616 (Phone)
801.287.4520 (Fax)
lmoody@rideuta.com

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Salt Lake City, UT 84101
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message in error, please notify the sender immediately by e-mail and delete &/or destroy all copies of his message.

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